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    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                    No. 24-1393



                      In Re: Wirecard AG Securities Litigation

                      (U.S. District Court No.: 2-20-cv-03326)


                                      ORDER

     It is hereby ORDERED that the above matter is dismissed pursuant to Fed. R.
App. P. 42(b). A certified copy of this order is issued in lieu of a formal mandate.



For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: March 27, 2024
TMK/cc:                                            A True Copy:
Andrew S. Love, Esq.
Craig Singer, Esq.
Mr. George V. Wylesol                              Patricia S. Dodszuweit, Clerk
                                                   Certified Order Issued in Lieu of Mandate
